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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

  PRIDE CENTER OF TERRE HAUTE, INC.,   )
                                       )
                         Plaintiﬀ,     )
                                       )
                         v.            )                       No. 2:25-cv-00076-MPB-MJD
                                       )
  PRESIDENT, INDIANA STATE UNIVERSITY, )
  in his oﬃcial capacity;              )
  VICE PRESIDENT FOR UNIVERSITY        )
  ENGAGEMENT, INDIANA STATE            )
  UNIVERSITY, in her oﬃcial capacity,  )
                                       )
                         Defendants.   )

        DEFENDANTS’ UNOPPOSED MOTION ON SETTLEMENT CONFERENCE

         Defendants President, Indiana State University, and Vice President for University

  Engagement, Indiana State University respectfully file this motion, unopposed by Plaintiff Pride

  Center of Terre Haute, Inc., regarding attendance at the Court’s March 21, 2025, settlement

  conference. Specifically, Defendants move for the Court’s approval, as material compliance with

  the Court’s order, ECF No. 13 (the “Order”), to have Indiana State University’s General Counsel

  J.D. Lux represent the Defendants at the settlement conference.

         In support of this motion, Defendants advise the Court as follows:

         1.      The Court’s Order establishes a settlement conference for March 21, 2025. In terms

  of party representation at this conference, the Order directs as follows: “unless excused by written

  order of the Court, every individual party, and an officer (President, Vice President, Treasurer,

  Secretary, CFO, CEO or COO) of every corporate entity that is a party, shall attend the settlement

  conference.” Order at 3.

         2.      Here, the Complaint is materially directed at an institution, Indiana State University

  (“ISU,” the “University”), although it technically names individual persons as Defendants, by their
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  institutional titles: “President” and “Vice President for University Engagement.” The Complaint

  respectively names these Defendants “in his official capacity” and “in her official capacity.”

         3.      Legal matters directed to state university officials in their official capacities are the

  responsibility of the institution’s general counsel or chief legal officer. Here, that official is ISU

  General Counsel J.D. Lux. The position of General Counsel at ISU is a member of the President’s

  Cabinet, reporting directly to the President, at the same level as the University officials who have

  “Vice President” titles.

         4.      Defendants wish to have Mr. Lux appear at the settlement conference as their

  official representative. His appearance would comply with all other directives in the Order.

         5.       Defendants submit that this would comply with the spirit and intention of the

  Order, and would ensure maximum efficacy for achieving a resolution of this case at the settlement

  conference.

         6.      During the Court’s March 13, 2025, status teleconference, the parties and the Court

  discussed this subject, and the Court directed the Defendants to file this motion to obtain the relief

  requested herein. Counsel for the Plaintiff supplied their consent to this relief.

         WHEREFORE, Defendants respectfully ask the Court to grant the relief requested above.




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   DATED: March 17, 2025                   Respectfully submitted,

                                           /s/ Kristin Froehle
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                                           and Vice President for University Engagement,
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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and complete copy of the foregoing was served via CM/ECF

  on March 17, 2025.


                                                           /s/ Kristin L. Froehle




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